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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §    CRIMINAL No. 1:20-CR-00254-LY
                                                  §
(1) DANIEL COAHUILAS-COAHUILAS                    §


                                             ORDER

       Having considered the defendant’s consent, this cause is hereby referred to United States

Magistrate Judge Mark Lane for the purpose of administering the plea of guilty and the Fed. R.

Crim. P. 11 allocution, subject to the final approval and imposition of sentence of this court.

       SIGNED this 9th day of November, 2020.




                                      LEE YEAKEL
                                      UNITED STATES DISTRICT JUDGE
